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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

UNITED STATES OF AMERICA,

             Plaintiff,                               Case No. 2:24-cr-20667
                                                      Hon. Denise Page Hood
                          v.                          DUTY MAGISTRATE

BRIAN MAURICE BROWN,

             Defendant.

     STIPULATION TO SEAL FILINGS RELATING TO DETENTION
                          HEARING

      IT IS HEREBY STIPULATED by and between the above parties that

Defendant’s Memorandum in Support of Bond and Request for Additional Pretrial

Services Investigation, the government’s response to Defendant’s memorandum, all

exhibits, and any other filings concerning the detention hearing scheduled on June

4, 2025, shall be sealed until further order of the Court because they contain personal,

sensitive information.

                               Respectfully Submitted

s/ Rajesh Prasad w/ permission                 s/ Allison L. Kriger
CAITLIN CASEY                                  ALLISON L. KRIGER (P76364)
RAJESH PRASAD                                  Attorney for Defendant
Assistant United States Attorney               500 Griswold Street, Suite 2400
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Caitlin.Casey@usdoj.gov
Rajesh.Prasad@usdoj.gov                                     DATED: June 2, 2025
Case 2:24-cr-20667-DPH-APP ECF No. 87, PageID.264 Filed 06/02/25 Page 2 of 2




                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                Plaintiff,                               Case No. 2:24-cr-20667
                                                         Hon. Denise Page Hood
                             v.                          DUTY MAGISTRATE

BRIAN MAURICE BROWN,

                Defendant.

                                  ORDER SEALING

      Upon reading and filing the attached Stipulation and the Court being duly

advised in the premises:

      IT IS HEREBY ORDERED that Defendant’s Memorandum in Support of

Bond and Request for Additional Pretrial Services Investigation, the government’s

response to Defendant’s memorandum, all exhibits, and any other filings concerning

the detention hearing scheduled on June 4, 2025 shall be sealed until further order

of the Court.


Date: June 2, 2025                s/Kimberly G. Altman
                                  KIMBERLY G. ALTMAN
                                  UNITED STATES MAGISTRATE JUDGE
